
In re: Lawrence Hungerford and The New Orleans Book Mart, et al applying for writs of certiorari, prohibition and mandamus and for a stay order.
Writ granted. See Order
The petition of the relator in the above entitled and numbered case having been duly considered,
It is ordered that a Writ of Certiorari issue lierein, directing the Honorable Jerome M. Winsberg, Judge of the Criminal District Court for the Parish of Orleans, to transmit to the Supreme Court of Louisiana, on or before the 8th day of February, 1974, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
*529It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, 'on the 10th day of May, 1974, at 10 o’clock A.M., why the relief prayed for in the petition of the relator should not be granted.
